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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :
                                                  :
                       v.                         :                21-CR-175 (TJK)
                                                  :
 ETHAN NORDEAN,                                   :
 also known as “Rufio Panman,”                    :
                                                  :
 JOSEPH BIGGS,                                    :
                                                  :
 ZACHARY REHL,                                    :
                                                  :
 CHARLES DONOHOE,                                 :
                                                  :
 ENRIQUE TARRIO,                                  :
 also known as “Henry Tarrio,”                    :
                                                  :
 DOMINIC PEZZOLA,                                 :
 also known as “Spaz,”                            :
 also known as “Spazzo,”                          :
 also known as “Spazzolini,”                      :
                                                  :
                            Defendants.           :


  GOVERNMENT’S REPLY IN SUPPORT OF MOTION TO VACATE TRIAL DATE
        AND TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

       The United States respectfully submits this reply in support of its motion to continue the

May 18, 2022, trial date in this matter. All six defendants in this indictment can and should be

tried together, and none of the objections raised by the defendants overcomes the government’s

and the Court’s legitimate interests in both trying these defendants together and ensuring that they

have adequate access to discovery and the necessary time to prepare for trial.

       None of the defendants raises a serious challenge to a continuance of the trial date on its

own merits. Rather, they focus on their incarceration status. See ECF 320 at 10 (“In sum,

Nordean opposes vacatur of the May trial date, unless the government agrees to work with the
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defense to create reasonable release conditions under [18 U.S.C.] § 3142(i)”); ECF 325 at 2-3

(“There is only one just and proper thing to do – take as much time as necessary to assure that the

government has produced all discovery . . . only if the Court releases Mr. Rehl . . .”); ECF 318 at

4 (Donohoe’s “continued incarceration is unjustly prejudicial . . . [t]hus Donahoe objects to the

government’s motion to vacate the trial date”); and ECF 319 (“If [Biggs] remains detained, he

must go to trial on May 18”).

       The government’s motion to continue the trial date, and the legitimate interest in trying

these defendants together, are separate and distinct from the question of whether the defendants

should remain incarcerated pending trial. The Court should not be distracted by the defendants’

efforts to conflate their detention status with the statutory or constitutional speedy trial analysis

that is currently before the Court. Should defendants wish to move for reconsideration of their

pretrial detention, the proper vehicle exists outside the present inquiry.        In the meantime,

continuation of the May 18 trial date is warranted and appropriate. Recognizing the importance

of preparing this case for trial, the government is providing abundant “cross discovery” tailored to

these specific defendants – including evidence seized as recently as March 2022 – on a schedule

that could, in the government’s view, permit the case to be ready for trial by August 2022.

   A. The Six Co-Conspirators Charged in the Second Superseding Indictment Should be
      Tried Together.

       On March 7, 2022, a grand jury returned the Second Superseding Indictment (“SSI”),

adding new charges and two new defendants, Dominic Pezzola and Enrique Tarrio. These six

defendants can and should be tried together. The law preferences joint trials for conspiracy

defendants charged together in a single indictment; the Court can logistically try all six defendants



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together; and the defendants have articulated no legitimate reason why they should not be tried

together.

             1. Legal Principles.

       Joint trials are the preferred method when multiple defendants are charged with being

members of a single conspiracy. The preference for joint trials of co-conspirators is “especially

strong when the respective charges require presentation of much of the same evidence, testimony

of the same witnesses, and involve two [or more] defendants who are charged, inter alia, with

participating in the same illegal acts.” United States v. Wilson, 605 F.3d 985, 1016 (D.C. Cir.

2010) (internal quotation marks omitted). See also United States v. Richardson, 167 F.3d 621,

624 (D.C. Cir. 1999) (“Joint trials are favored in RICO cases ... ‘where ... the respective charges

require presentation of much of the same evidence, testimony of the same witnesses, and involve

two defendants who are charged, inter alia, with participating in the same illegal acts”’ (quoting

United States v. Ford, 870 F.2d 729, 731 (D.C. Cir. 1989))).

       By contrast, severance should be granted “sparingly.” See United States v. Straker, 800

F.3d 570, 626 (D.C. Cir. 2015). “If the joinder of offenses or defendants in an indictment, an

information, or a consolidation for trial appears to prejudice a defendant or the government, the

court may order separate trials of counts, sever the defendants’ trials, or provide any other relief

that justice requires.” Fed. R. Crim. P. 14(a). “[A]lthough a district court may grant a severance

in a wider array of circumstances, the Supreme Court has held that ‘a district court should grant a

severance under Rule 14 only if there is a serious risk that a joint trial would compromise a specific

trial right of one of the defendants, or prevent the jury from making a reliable judgment about guilt




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or innocence.’” United States v. Moore, 651 F.3d 30, 95 (D.C. Cir. 2011), quoting Zafiro v. United

States, 506 U.S. 534, 539 (1993).

       To obtain a severance, the defendant has the burden of establishing the requisite prejudice.

See, e.g., United States v. Carson, 455 F.3d 336, 374 (D.C. Cir. 2006). Such prejudice may be

shown, for example, by the presence of evidence admissible against one defendant but not another

or by the unavailability of exculpatory evidence to a single defendant in a joint trial that would be

available in a single trial. Zafiro, 506 U.S. at 539.

           2. Severance is not Warranted in this Case.

       The defendants have not met their burden of establishing prejudice requiring severance,

which Nordean (ECF 320) specifically seeks, and which Rehl has sought to join (ECF 325). As

an initial matter, Nordean has cited no case law (and the government is unaware of any) standing

for the proposition that the defendant’s pretrial incarceration status is a sufficient basis to grant a

severance under Fed. R. Crim. P. 14. See ECF 320 at 9.         Indeed, the relevant case law focuses

on whether a joinder would result in an unfair trial vis-à-vis evidence that would be introduced

regarding co-defendants, not whether joinder presents the possibility of prejudice at the pretrial

phase through continued incarceration. See, e.g., Bruton v. United States, 391 U.S. 123, 131

(1968) (Rules 8(b) and 14 are designed “to promote economy and efficiency and to avoid a

multiplicity of trials, [so long as] these objectives can be achieved without substantial prejudice to

the right of the defendants to a fair trial) (emphasis added). As will be discussed further below,

if Nordean’s arguments about length of his pretrial incarceration when weighed against his

constitutional speedy trial rights were correct—and they are not—the remedy would be dismissal

or release under the Bail Reform Act, not a Rule 14 severance.


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       Nordean’s arguments about severance from Pezzola fare no better. Although he alleges

that there is a potential Bruton problem with respect to the admissibility of Pezzola’s statements

at a joint trial (see ECF 320 at 9), Nordean proffers no allegedly offending statements nor offers

any analysis as to why those statements would not be otherwise admissible. The defendant bears

the burden of demonstrating prejudice requiring severance, and Nordean has not come close to

meeting this burden. The cases cited by Nordean interpreting Fed. R. Evid. 801(d)(2)(E) are

importantly not severance cases. They are evidence-admissibility cases that involve the analysis

of specific statements and the circumstances surrounding their utterance. See United States v.

Carson, 455 F.3d 336, 365 (D.C. Cir. 2006) (analyzing the district court’s factual findings for

admissibility); Bourjaily v. United States, 483 U.S. 171, 175 (1987) (setting standard that the Court

must be satisfied that a co-conspirator statement satisfies Rule 801(d)(2)(E) prior to admitting the

statement). Were Nordean, or any of the charged defendants, to identify potentially inadmissible

out-of-court statements by Pezzola, the proper mechanism for resolving such issues is through a

motion in limine, not an opposition to a motion to continue a trial date.   Here, defendant Nordean

has identified neither a statement, nor the circumstances under which it was made. He has not

come close to meeting his burden to demonstrate prejudice requiring severance, especially in light

of the strong preference for joint trials. In any event, even if the defendant’s case must be severed

from Pezzola due to Pezzola’s statements, Nordean has made no such claim as to Tarrio’s

statements, and a continuance is necessary to try him jointly together with Tarrio.

       Both the Court and the defendants referenced the government’s statement in its initial

motion to vacate the trial date that it is evaluating whether to supersede the current indictment to

add additional defendants and/or charges. Were the government to supersede before trial, any


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additional charges would overlap substantially with the conspiracy to obstruct an official

proceeding charge that has been at the heart of this prosecution since its inception. But regardless

of whether there is another superseding indictment in this case, a continuance is warranted for the

presently charged defendants, who acted as lieutenants and leaders on the ground on January 6, to

permit them to be tried jointly with Enrique Tarrio, who was a central figure in the charged

conspiracy. 1

    B. A Continuance of the May Trial Date is Warranted and Appropriate.

       The defendants imply that the government has acted in bad faith by bringing a Second

Superseding Indictment that rehashes old evidence to add new defendants, rather than relying on

newly discovered evidence. The defendants further allege that the government failed to provide

complete discovery, such that the May 18 trial will represent “Herculean demands of preparation”

(Biggs, ECF 319), resulting in a “Hobson’s choice” to proceed to trial with incomplete evidence

or remain detained (Rehl, ECF 325). As discussed below, the government’s request to continue

the trial is warranted and appropriate.




1
         Nordean claims that “precisely the same government delays in adding defendants to
January 6 conspiracy matters led a judge in this Court to order separate trials of the Oath Keepers
defendants—even though they were indicted together. U.S. v. Caldwell, 21-cr-28, ECF No. 289
(D.D.C. 2021).” ECF 320 at 9. The Caldwell order cited by Nordean—which issued in July
2021—is silent as to the reason the Oath Keepers case was split into separate trials, and the record
in that case belies Nordean’s claim that any alleged “government delays” were behind the split.
See United States v. Caldwell, et al., No. 21-cr-28 (APM), June 1, 2021 Hr’g Tr. (ECF No. 370)
at 32:22-34:1 (Government counsel agreeing with Judge Mehta that 16 codefendants cannot go to
trial at once for logistical reasons). Here we have six defendants, not 16, which can be tried at
once in this courthouse. Nordean also ignores the procedural history of the Caldwell case, which
was split into two separate cases on January 12, 2022, upon the issuance of seventh superseding
indictment in that case, and a new indictment (see United States v. Elmer Stewart Rhodes, et al.,
No. 22-cr-15 (APM)).
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       1. The Government Acted Expeditiously to Secure the SSI Based on Recently
          Discovered Evidence.

       On January 4, 2021, Tarrio was arrested in Washington, D.C., and charged with destruction

of property for his December 12, 2020, burning of a #BLACKLIVESMATTER banner and

possession of two large capacity magazines. At the time of his arrest, Tarrio’s phone was seized

by law enforcement. The government promptly sought a search warrant for that device in this

investigation. Despite diligence, the government was not able to obtain access to Tarrio’s phone

until December 2021. Thereafter, a filter team was utilized to ensure that only non-privileged

materials were provided to the investigative team. The investigative team did not gain access to

the materials on the phone until mid-January 2022, and it has worked expeditiously since that time

to review these materials.

       The SSI is based on important, newly discovered evidence recovered from Tarrio’s phone.

As the government noted, and no defendant challenges with any specificity, “the indictment

contains new factual allegations, particularly with respect to Tarrio’s role as a leader of the

conspiracy.”   ECF 314 at 3.      For example, recently recovered evidence includes Tarrio’s

statement, made in the context of a discussion of revolution and a plan to occupy government

buildings on January 6, “That’s what every waking moment consists of . . . I’m not playing games.”

SSI ¶ 41. The newly recovered evidence also includes another exchange from January 3-4, during

which a leader of MOSD told other leaders that the operating theater should be in front of the

House of Representatives because “That’s where the vote is taking place and all of the objections

. . .”, to which Tarrio responded, “I didn’t hear this voice note until now. You want to storm the




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Capitol.” SSI ¶¶ 49-50. 2 The government moved expeditiously and reasonably to seek charges

against Tarrio after recovering this and other similar evidence. 3

       In short, none of the objections cited by the defendants overcome the preference for joint

trials of co-conspirators, which is “especially strong when the respective charges require

presentation of much of the same evidence, testimony of the same witnesses, and involve two [or

more] defendants who are charged, inter alia, with participating in the same illegal acts.” United

States v. Wilson, 605 F.3d 985, 1016 (D.C. Cir. 2010) (internal quotation marks omitted).

       2. The Government has Acted Diligently to Provide Discovery Materials in this
          Unprecedented Case.

       Since January 2021, the government has worked diligently to obtain, organize, review, and

make accessible voluminous data, that the defendants may even be arguably entitled to, as

elaborated in the Discovery Status Memoranda and letters it has filed with the Court. 4 The Court




2      Even at the time, the codefendants were aware that law enforcement’s seizure of Tarrio’s
phone had the potential to place them in legal jeopardy. Shortly after Tarrio’s phone was seized,
Donohoe created new encrypted chats for MOSD leaders and members and advised them “Hey
have been instructed and listen to me real good! There is no planning of any sorts. I need to be put
into whatever new thing is created. Everything is compromised and we can be looking at Gang
charges.” SSI at ¶ 53. Tarrio also understood that law enforcement’s seizure of his phone was
potentially problematic, advising another individual after his release that he had cleared all the
messages on his phone before he was arrested, and that no one would be able to get into his phone
because there were “two steps” to get into it.

3       The government agrees that the evidence with respect to Pezzola is not new, either to the
currently charged defendants (as this evidence has been argued repeatedly in the many motions to
detain and reconsider the detention of the currently charged defendants), or to Pezzola himself.
Pezzola was charged on January 29, 2021; the charges in the SSI overlap substantially with the
charges that have been at the heart of his prosecution since its inception.
4
       See ECF 119, 120, 168, 180, 214, 216, 218, 285, 290, which are incorporated herein by
reference.
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is familiar with the government’s extensive efforts to provide global discovery from these status

memoranda, and the government will not belabor the point here.

       In “case-specific” discovery, the government’s diligent efforts began with rapid

productions of evidence obtained from devices and accounts through legal process, as well as video

evidence from the U.S. Capitol Police and open sources. That has continued with multiple rounds

of case-specific discovery—principally, materials obtained from the defendants’ FBI case files,

including search warrant returns, grand jury subpoena returns, and FBI reports and analysis.

       In its February 10, 2022, status report, the government laid out its ongoing effort to make

data available across the January 6 cases in “global discovery.” Through global discovery, the

government is endeavoring to make available potentially relevant data from other cases in a

searchable format, which will be a valuable resource for all defense counsel in preparing their

defenses.   As the government continues to build out the global discovery databases, the

government has identified a “short-term discovery plan”—including targeted searches—that will

enable certain trials to proceed before the “global discovery” plan is substantially executed.

       In its February 10 status report, the government explained that the “short-term” approach

would not be workable in complex cases such as this one. In this case, the government has

undertaken a process of providing “cross-discovery” to achieve the purposes of global discovery.

Specifically, as explained in its motion and other prior filings, and as reflected in the discovery

correspondence filed with the Court, the government has produced terabytes of material obtained

in other specific cases that is potentially relevant to the defendants in this case. In the coming

weeks, as the government continues to make cross-discovery productions, it intends to replicate

its case-specific and cross-discovery productions through productions via Relativity.            The


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government anticipates that its continued cross-discovery through Relativity should allow this

complex case to proceed to trial even if the “global discovery” plan is not fully executed.

       Despite the government’s diligent efforts in this case, however, the government does not

anticipate that discovery will be complete in time to permit a trial in this case to commence on

May 18. Indeed, counsel appear to agree. Two of the six presently charged defendants, Tarrio

and Pezzola, have indicated that they cannot be ready for trial in May. Of the remaining four,

none has indicated that they would be prepared to proceed to trial in May if they were not

incarcerated. Biggs has explicitly stated that a trial on May 18 would require “Herculean” efforts

(ECF 319).     Rehl has stated that, absent his continued detention, “[t]here is only one just and

proper thing to do – take as much time as necessary to assure that the government has produced

all discovery that is material to preparing the defense, that the government intends to use in its

case-in-chief at trial and that is favorable to Mr. Rehl so that counsel is able to prepare adequately

to defend the serious charges brought against Mr. Rehl and he is able to review the voluminous

discovery and assist in his defense.” Rehl, ECF 325 at 1. And Donohoe has stated that he cannot

know whether he would be prepared from trial on May 18, without knowing when the government

would complete discovery. ECF 318 at 4.

       As the Court has noted in making findings under the Speedy Trial Act, the government has

acted diligently to provide discovery in this complex case in a timely fashion. This scenario—

where the government has acted diligently to provide discovery in a complex case, but where it is

not feasible to proceed with a scheduled trial date—is precisely the type of scenario envisioned by

the Speedy Trial Act’s ends-of-justice provision, 18 U.S.C. § 3161(h)(7). See Zedner v. United

States, 547 U.S. 489, 508 (2006) (“Congress clearly meant to give district judges a measure of


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flexibility in accommodating unusual, complex, and difficult cases”). Because the government

has acted diligently in this complex case, the Court should grant the government’s request for a

continuance to allow all parties—the newly added defendants, as well as the objecting

defendants—to adequately prepare for trial. As the Supreme Court has noted, “[i]n setting forth

the statutory factors that justify a continuance under subsection (h)(7), Congress twice recognized

the importance of adequate pretrial preparation time.” Bloate v. United States, 559 U.S. 196, 197

(2010) (citing §3161(h)(7)(B)(ii), (B)(iv)). The Supreme Court and other courts have time and

again recognized the production of voluminous discovery in a complex conspiracy case is a valid

reason for trial delay. “[T]he delay that can be tolerated for an ordinary street crime is considerably

less than for a serious, complex conspiracy charge.” Barker v. Wingo, 407 U.S. 514, 531 (1972);

see also United States v. Bikundi, 926 F.3d 761, 780 (D.C. Cir. 2019) (delay of 18 months in a

case with complex discovery did not violate speedy trial clause); United States v. Lopesierra-

Gutierrez, 708 F.3d 193, 203 (D.C. Cir. 2013) (same, with a delay of three-and-a-half years).

       The government has indicated to the Court that it will not be able to complete discovery

by May 18. Recognizing the importance of preparing this case for trial, the government is

providing abundant “cross discovery” tailored to these specific defendants – including evidence

seized as recently as March 2022 – on a schedule that could, in the government’s view, permit the

case to be ready for trial by August 2022. None of the defendants have indicated that they would

be prepared to proceed to trial in May if they were not incarcerated. In short, even if the lawyers

for the objecting defendants move heaven and earth to zealously defend their clients to the best of

their ability, if the trial commences on May 18, discovery will not be complete.




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    C. The Defendants’ Constitutional Speedy Trial Rights Will Not Be Violated by a
       Continuance. 5

       Defendant Nordean alleges, incorrectly, that his Sixth Amendment speedy trial right has

been violated (ECF 320 at 5). The Supreme Court has established a four-factor balancing test to

determine whether a violation of the Sixth Amendment right to a speedy trial has occurred: (1) the

length of the delay, (2) the reason for the delay, (3) the defendant’s assertion of his right, and (4)

the prejudice to the defendant. See, e.g., Barker v. Wingo, 407 U.S. 514, 530 (1972). “No single

factor is necessary or sufficient to find a deprivation of the right to a speedy trial because the

factors are related and must be considered together.” Bikundi, 926 F.3d at 779. “To trigger the

speedy trial analysis, the length of delay between accusation and trial must ‘cross[ ] the threshold

dividing ordinary from ‘presumptively prejudicial’ delay.’ Generally, a delay of one year is

presumptively prejudicial.” Id., quoting Doggett v. United States, 505 U.S. 647, 651-52 (1992).

       However, “presumptive prejudice cannot alone carry a Sixth Amendment claim.” United

States v. Taylor, 497 F.3d 673, 677 (D.C. Cir. 2007), quoting Doggett, 505 U.S. at 656. That is

because if the Court finds a delay of slightly more than a year presumptively prejudicial sufficient

to trigger the full speedy trial analysis, it must then “consider, as one factor among several, the

extent to which the delay stretches beyond the bare minimum needed to trigger judicial

examination of the claim.” Taylor, 497 F.3d at 677, quoting Doggett, 505 U.S. at 652.



5
        Nordean argues that his “Sixth Amendment speedy trial right has been violated.” ECF
320 at 5 (emphasis added). If Nordean’s right to a speedy trial has in fact been violated already—
which it has not and will not be by a continuance—the only proper remedy is dismissal. See Barker,
407 U.S. at 522. The defendant’s offer to agree to a continuance if the government agrees to work
with him on release, see ECF 320 at 5, demonstrates the disingenuousness of his position with
respect to whether a constitutional speedy trial violation has already occurred or will occur with a
continuance.
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       As a number of courts have noted, it would be an “unusual case” in which the Speedy Trial

Act is followed but the constitution violated, see, e.g., United States v. Rice, 746 F.3d 1074, 1081

(D.C. Cir. 2014), even though the absence of a Speedy Trial Act violation does not ipso facto

defeat a Sixth Amendment speedy trial claim. See 18 U.S.C. § 3173. Here, the Court has

followed the Speedy Trial Act, making findings at nearly every status conference that the ends of

justice served by the continuance outweigh the interests of the defendants and the public in a

speedy trial. See 18 U.S.C. § 3161(h)(7)(A).

       1. Length of the Delay

       Defendant Nordean’s argument that his Sixth Amendment speedy trial rights “have been

violated” (ECF 320 at 8) should be rejected outright as to the presently set May 18 trial date, given

that the length of time between his arrest and that date is barely long enough to even trigger the

full Barker analysis in this complex conspiracy case. Any new date set by this Court is almost

certain to be either equivalent to or well short of the lengths of delay previously upheld by the D.C.

Circuit (none of which were cited by Nordean). See e.g., Rice, 746 F.3d at 1082 (delay of 26

months) United States v. Tchibassa, 452 F.3d 918, 924, 927 (D.C. Cir. 2006) (delay of nearly

eleven years); Lopesierra-Gutierrez, 708 F.3d at 202–03 (delay of three-and-a-half years); see also

United States v. Young, 657 F.3d 408, 414, 420 (6th Cir. 2011) (delay of nearly eleven years).

       2. Reason for the Delay

       “The flag all litigants seek to capture is the second factor, the reason for the delay.” United

States v. Loud Hawk, 474 U.S. 302, 315 (1986). While a “deliberate attempt to delay the trial in

order to hamper the defense should be weighted heavily against the government,” a “more neutral




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reason ... should be weighted less heavily but nevertheless should be considered.” Barker, 407

U.S. at 531. A “valid reason,” on the other hand, “should serve to justify appropriate delay.” Id.

       Any delay here has been for valid reasons. There has been no bad-faith, negligence, or

otherwise unwarranted delay on the part of the government in its prosecution of this case, and what

delay there has been results from the enormous volume and significant complexity of the

government’s discovery obligations that arise from the events of January 6, 2021, which it is

approaching with appropriate diligence, as discussed above. As this Court has found, discovery

in this case is incredibly complex, and that complexity has in part led to the Court finding that

exclusion of time was warranted in the interests of justice on multiple occasions. See, e.g., Mar.

23, Apr. 6, 14, 19, and 22, May 4, June 1, 3, and 30, July 15 and 27, Sept. 21, Nov. 3, and Dec.

14, 2021, Minute Entries; Nov. 3, 2021, Minute Order; Feb. 8, 2022, Minute Entry. Indeed, one

of this Court’s colleagues has called the discovery in the January 6 cases “the most complex case

that the court has seen in its years of judicial service.” United States v. Gieswein, No. 21-cr-24

(EGS) Aug. 11, 2021 Hr’g Tr. (ECF 37) at 32:13-32:18 (Sullivan, J.).

       Additionally, at least some of the reason the currently scheduled trial is set for May is the

COVID-19 pandemic, along with the actions of the other defendants, which is not attributable to

the government. As of September 2021, the presently scheduled May trial date was the first

available, given the COVID-19 restrictions at the courthouse. See Sept. 21, 2021 Hr’g Tr. at

67:12-68:6. Courts across the country have found that the COVID-19 pandemic is a valid basis

to postpone trial. See, e.g., United States v. Taylor, 2020 WL 7264070 at *6 (D.D.C. December

10, 2020) (Boasberg, J.) (collecting cases). Defendant Rehl, moreover, is on his third attorney.

Although his current attorney says she will be ready in May, “even if it takes extraordinary effort,”


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ECF 325 at 3, she was only appointed on December 14, 2021, and while the government has

undertaken to provide her with discovery as expeditiously as possible, it was unlikely that the trial

of the four now-objecting defendants could have been set prior to May 2022, regardless of how

the government handled discovery. 6

       3. Assertion of the Right

       Contrary to the assertion in his pleading, Defendant Nordean did not raise the claim that

his constitutional speedy trial rights had had been violated with the Court until the March 23 status

hearing, some 13 months after his arrest. 7 The length of the defendant’s delay in asserting that

right counsels against finding that the third factor weighs in his favor. See United States v. Black,

830 F.3d 1099, 1120 (10th Cir. 2016) (where defendant first asserted speedy trial rights at 16-

month mark, and did not pursue them with much vigor, the third factor weighed heavily against

him, even though he filed a motion to dismiss on speedy trial grounds). Here, in addition to first

affirmatively raising his right to a speedy trial on March 23, 2022, Nordean maintains in his

motions papers that he would be willing to consent to a continuance if the government works with

him to fashion release conditions. ECF 320 at 10.

       In addition to not asserting his right to a speedy trial until 13 months after his arrest,

Nordean took actions—including the filing of numerous motions—that served to automatically



6
        Indeed, at a status conference on December 14, 2021, when the Court raised the possibility
of an earlier trial date, Rehl’s current (and then-newly appointed) counsel stated, “I’m not sure that
I would be able to be prepared for trial at an earlier date.” Dec. 14, 2021 Hr’g Tr. at 41:2-6.
7
        Nordean claims that he has “consistently raised his desire for a speedy trial.” ECF 320 at
10. This is not true. He did not object to tolling time under the Speedy Trial Act based on
voluminous discovery early in the case. See April 6, 2021 Hr’g Tr. at 68:8, April 19, 2021 Hr’g
Tr. at 79:8-79:11. He did object to an interests-of-justice continuance on June 13, 2021. See
June 13, 2021 Hr’g Tr. 19:22-24. At later dates, when the Court asked Nordean’s counsel his
                                               15
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toll the running of the clock under the Speedy Trial Act. “[I]t will be an ‘unusual case’ in which

the [Speedy Trial] Act is followed but the Constitution violated.” United States v. Rice, 746 F.3d

1074, 1081 (D.C. Cir. 2014). 8

       Finally, it is worth noting that defendant Nordean has not sought dismissal on speedy trial

grounds, which the Supreme Court has stated is the only proper remedy. Barker, 407 U.S. at 522.

He has instead sought to use the alleged violation as a basis to object to the government’s motion

to continue.




position on Speedy Trial Act tolling, he expressed the position that the Speedy Trial Act tolled
automatically because motions were pending, but did not specifically object to tolling under the
interests-of-justice exception.     On one occasion, counsel stated that pending motions
automatically tolled the Act, so “our consent isn’t required.” July 15, 2021 Hr’g Tr. at 78:6-9.
On a separate occasion, counsel responded to a similar inquiry from the Court by stating that an
interests-of-justice continuance was “irrelevant.” because of the pending motions, but again he did
not lodge an objection to it. November 3, 2021 Hr’g Tr. at 30:5-11. At most, Nordean has cited
the length of potential detention as a reason to release him, but he did not ask to set an earlier trial
date, nor did he connect the potential trial date to his speedy trial rights. See Motion to Reopen
Detention Hearing, ECF 122 at 10 (“By its own description, the government has produced an
enormous amount of discovery material in this case, which is continuing. There is no set discovery
schedule and no calendared trial date. Other January 6 trials are scheduled for the spring of 2022”).
Additionally, at the time the Court set the May 18 trial date, it sua sponte suggested setting the
earliest date available for a four-to-six-week trial. Neither the government nor any defendant
objected, but neither did Nordean nor any other defendant ask for a trial date to be set in connection
with their alleged assertion of speedy trial rights. See Sept. 21, 2021 Hr’g Tr. at 61-72. None of
the other defendants has objected to ends-of-justice continuances, and defendant Rehl has changed
attorneys on two separate occasions.
8
        Nordean seems to argue that the Speedy Trial Act is unconstitutional if it forces him to
choose between filing motions and a speedy trial. ECF 320 at 7 n.3. The Speedy Trial Act puts
the defendant to no such choice. The reason for the delay is of course only one of the factors, and
whether the Speedy Trial Act was followed is a relevant data point for the Court in conducting that
analysis, as the D.C. Circuit has held. See Rice, 746 F.3d 1074, 1081. In any event, aside from
the pending motions, as noted above, the Court made proper findings supporting ends-of-justice
continuances on numerous occasions in this case.

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       4. Prejudice

     The defendant has not established prejudice requiring dismissal as the result of any delay.

Notably, Nordean does not allege any prejudice to his ability to present a defense based on any

delay. Indeed, Nordean has repeatedly argued exactly the opposite—claiming that despite having

over one year to prepare, Nordean’s counsel has been unable to effectively meet with his client.

       Of the three types of prejudice enumerated by the Supreme Court, it has called prejudice

to the ability to present a defense “the most important,” given the potential to “skew[] the fairness

of the entire system” if a defendant cannot prepare and present a defense. See, e.g., Barker, 407

U.S. at 532. 9 The defendant has proffered no prejudice whatsoever to his ability to mount a

defense to the charges stemming from any delay in trial. He has not alleged, for example, loss of

records, death of witnesses, or other barriers to trial preparation, which are the types of delay with

which the fourth factor is most concerned. See United States v Taylor, 2020 WL 7264070 at *9

(D.D.C. December 10, 2020) (Boasberg, J.). 10




9
       In addition to impairment of the ability to present a defense, the Court has identified
oppressive pretrial incarceration and anxiety of the accused as areas of potential prejudice.
Barker, 407 U.S. at 532.
10
        Nordean seems to argue that because the time that has elapsed between his arrest and the
currently scheduled May trial date is longer than one year, that delay is “presumptively
prejudicial,” which suggests that the Court should find in his favor on the fourth factor. See ECF
320 at 5-6. Nordean is incorrect. “That argument . . . confuses the ‘presumptive prejudice’
necessary to trigger the speedy-trial inquiry with the prejudice prong of the Barker test. Indeed,
the Supreme Court has warned against this very mistake: As the term is used in this threshold
context, ‘presumptive prejudice’ does not necessarily indicate a statistical probability of prejudice;
it simply marks the point at which courts deem the delay unreasonable enough to trigger the Barker
enquiry.” United States v. Homaune, 898 F. Supp. 2d 153, 170 (D.D.C. 2013) (Boasberg, J.)
(cleaned up), quoting Doggett, 505 U.S. at 652 n. 1. In any event, any such presumptive prejudice
cannot, alone, carry the defendant’s Sixth Amendment claim. See Doggett, 505 U.S. at 656.

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       The defendant has cited no case suggesting that prejudice of a magnitude required to

dismiss the case arises solely due to the approximately 13 months he will have been detained at

the time of the presently scheduled trial. This makes sense because if pretrial incarceration of

barely over the minimum time needed to trigger a speedy trial analysis were, without more, enough

to dismiss an indictment under the speedy trial clause, pretrial detention would be per se

impermissible in complex cases. Indeed, it is not. Many courts, including those in this Circuit,

have declined to find a speedy trial violation, with much longer periods of incarceration, including

those longer than any likely continuance in this case would produce. See, e.g., United States v.

Rice, 746 F.3d 1074, 1082 (D.C. Cir. 2014) (“although Rice suffered lengthy [twenty-six month]

‘pretrial incarceration’ and ‘anxiety and concern,’ he does not even attempt to argue that he

suffered ‘the most serious’ form of prejudice: the impairment of his defense”); United States v.

Lopesierra-Gutierrez, 708 F.3d 193, 202-03 (D.C. Cir. 2013) (no speedy trial violation where

defendant was detained for three-and-a-half years pretrial); 11 United States v. Taylor, No. 2020

WL 7264070 (D.D.C. Dec. 10, 2020) (Boasberg, J.) at *10 (28 months’ incarceration during

pandemic did not violate speedy trial clause); United States v. Muhtorov, 20 F. 4th 558, 658-660

(10th Cir. 2021) (finding no constitutional speedy trial violation despite prejudice arising from six-

and-a-half-year period of pretrial incarceration, in part because “the delay was attributable to

necessities of the discovery process untainted by government bad faith or negligence”); United

States v. Flores-Lagonas, 993 F.3d 550, 565 (8th Cir. 2021) (Four-year delay while defendant was

incarcerated did not require dismissal where delay was mostly attributable to defendant and he



11
        Although the Lopesierra-Gutierrez opinion is silent on the defendant’s detention status, he
was in fact detained for all three-and-a-half years. See United States v. Lopesierra-Gutierrez, Br.
For Appellant, 2012 WL 3186583 at *3.
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could not show specific prejudice); United States v. Worthy, 772 F.3d 42, 49 (1st Cir. 2014) (23-

month delay, while defendant was incarcerated, did not warrant dismissal in a complex case).

       Nordean has not proffered that the particular circumstances of his confinement are so

oppressive that dismissal is warranted. See Muhtorov, 20 F.4th at 656 (where defendant was

incarcerated pretrial for six-and-a-half years, most of which was at county facilities with little

educational or visitation opportunity, including two months on 24-hour lockdown, the oppressive

incarceration weighed in defendant’s favor for speedy trial analysis, but was insufficient to dismiss

the indictment in light of the other three factors). The Court should decline to weigh the fourth

factor in defendant’s favor at all, given the lack of proffered prejudice to his defense and the

minimal showing on oppressive incarceration, but even if it does, the fourth factor does not

outweigh the others on these facts.

   D. The Defendants’ Incarceration Status Should Be Addressed Separately

       Defendants Nordean, Biggs, Rehl, and Donohoe all improperly request the Court to

consider the fact that they are detained in determining whether a continuance is warranted.

Pursuant to 18 U.S.C. § 3164:

       (a) The trial or other disposition of cases involving—

           (1) a detained person who is being held in detention solely because he is awaiting trial,
               and

           (2) a released person who is awaiting trial and has been designated by the attorney for
               the Government as being of high risk,

           shall be accorded priority.

       (b) The trial of any person described in subsection (a)(1) or (a)(2) of this section shall
           commence not later than ninety days following the beginning of such continuous
           detention or designation of high risk by the attorney for the Government. The periods

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           of delay enumerated in section 3161(h) are excluded in computing the time limitation
           specified in this section.

18 U.S.C. § 3164 (emphasis added). While the Speedy Trial Act requires the trial of a person

who is being detained to commence within ninety days, it also categorically excludes from this

computation of time periods of delay enumerated in 18 U.S.C. § 3161(h), including a judicial

finding under § 3161(h)(7) that an ends-of-justice continuance is warranted, or a continuance

based on § 3161(h)(6) for the addition of a co-defendant. So long as the court’s findings are

warranted and “seriously weigh the benefits of granting the continuance against the strong public

and private interests served by speedy trials,” United States v. Bryant, 523 F.3d 349, 361 (D.C.

Cir. 2008), the excluded periods must be omitted from the computation of ninety-day time

limitation for bringing a detained defendant to trial.

       Accordingly, the Court should decide to continue the trial on the merits of the government’s

motion, the defendants’ responses, and the provisions of the Speedy Trial Act, and it should

separately address any motions any of the defendants may file regarding release under the

provisions of the Bail Reform Act. Should any defendant wish to challenge their continued

detention, the proper mechanism for doing so is a renewed motion to reconsider detention, not as

a bargaining chip regarding trial readiness in a complex conspiracy case.




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                                        CONCLUSION

       For the reasons described above, the government respectfully requests that the Court grant

the government’s motion to vacate the May 18 trial date, and to continue the trial to the first

agreeable date for all parties beginning in August 2022.



                                                    Respectfully submitted,

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